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U.S. Department of Justice

United States Attorney’ o
Southern District of. Neff York Very

 

 

 

 

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One Saint Andrew's Plaza
New York, New York 10007

 

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By ECF and Electronic Mail

The Honorable Kimba M. Wood

United States District Judge MM FIV () EN D0) RSED
Southern District of New York

500 Pearl Street
New York, NY 10007

Re: United States v. Jonathan Roper, 16 Cr, 542 (KMW)
Dear Judge Wood:

Defendant Jonathan Roper is scheduled to be sentenced on January 26, 2021. The
Government respectfully requests that the sentencing be adjourned until some date after the
defendants in U.S. v. Freedinan et al., No 18 Cr. 217 (MW), are sentenced, so that the Court

may consider any additional cooperation Roper provides in connection with those proceedings.

Roper, through counsel, consents to the requested adjournment.

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Sc N\ re AC ne Is a a Respectfully submitted,

fp yuw 7, Addl af /| 00am. AUDREY STRAUSS
/ sSim 16 de. Acting United States Attorney
pefendanto Submit
by: fs/

by Mar aM , aol. bow unnmok Noah Solowiejezyk

David Abramowicz

S ub MISsi™m VS Aus by June ( ' Assistant United States Attorneys
Qan ( (212) 637-2473/6525

ce: Joseph Ferrante, Esq. (by ECF and email)

SOORDERED: NY,N% jfiz|21

KIMBA M. WOOD
U.S.DJ.

lof 1/12/2021, 9:18 AM
